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1                                                                          The Honorable Robert S. Lasnik
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                                 UNITED STATES DISTRICT COURT
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                           FOR THE WESTERN DISTRICT OF WASHINGTON
9                                      SEATTLE DIVISION

10   UNITED STATES OF AMERICA,
11                   Plaintiff,
                                                            NO. CR04-80RSL
12
            vs.                                             ORDER CONTINUING
13                                                          TRIAL DATE
14
     TAE HYU SHIN and KONG SUN
     HERNANDEZ,
15                    Defendant.
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            Based upon the reasons stated in the stipulation of the parties to continue the trial date, and
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     upon a review of the records and files herein, this Court finds and rules as follows:
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19          1.      This Court adopts the stipulation of the parties.

20          2.      It is therefore unreasonable to expect adequate preparation for trial proceedings within
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                    the time limits established by the Speedy Trial Act.
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            3.      In addition, failure to grant the continuance in this case would deny the Defendant
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                    continuity of defense counsel and the reasonable time necessary for effective

                    preparation, taking into account the exercise of due diligence.

            4.      The Court further FINDS that the ends of justice served by this continuance outweigh

                    the best interest of the public and the Defendant in a speedy trial.


      PROPOSED ORDER CONTINUING TRIAL DATE                                             ELLIS, LI & MCKINSTRY PLLC
                                                                                                  Attorneys at Law
                                                                                                     Two Union Square
                                                                                                601 Union Street, Suite 4900
                                                                                                  Seattle, WA 98101-3906
      CR04-80RSL                                                                             206•682•0565 Fax: 206•625•1052
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1           Based on the foregoing, IT IS NOW, THEREFORE, ORDERED that the trial in this matter
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     be continued to September 26, 2005, and that the time from the date of this Order and the new trial
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     date be excluded pursuant to the provisions of Title 18, United States Code, Section
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     3161(h)(8)(A)&(B).
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6           DATED this 21st day of June, 2005.

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9                                                               A
                                                                Robert S. Lasnik
10                                                              United States District Judge

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      PROPOSED ORDER CONTINUING TRIAL DATE                                           ELLIS, LI & MCKINSTRY PLLC
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